                      Case 25-15437       Doc 15   Filed 06/20/25    Page 1 of 1



                  IN THE UNITED STATES BANKRUPTCY COURT F O R T H E
                                DISTRICT OF MARYLAND
                                    Baltimore Division

 In Re:                                                         )
                                                                )    Chapter 7
          BRANDON MICHAEL CHASEN, SR.                           )
                                                                )    Case No. 25-15437
                                Debtor.                         )
                                                                )

                                    CERTIFICATE OF SERVICE FOR
                                      PETITION AND SUMMONS

            I HEREBY CERTIFY that I caused a true and correct copy of the Petition (Docket

  No.1), and Summons to Debtor in Involuntary Case (Docket No. 5) to be sent on June 17,

  2025, by first class mail, postage prepaid and by email to:

          Brandon Michael Chasen, Sr., Debtor
          13916 Green Branch Dr.
          Phoenix, MD 21131
          brandon@chasencompanies.com

          With receipt thereof acknowledged by proposed counsel for the Debtor on June 18,

2025.


                                                SANDY SPRING BANK, A DIVISION OF
                                                ATLANTIC UNION BANK
                                                By counsel


                                                /s/ Jeffery T. Martin, Jr.
                                                Jeffery T. Martin, Jr., Bar No. 18328
                                                John E. Reid, Bar No. 16983
                                                Martin Law Group, P.C.
                                                8065 Leesburg Pike, Suite 750
                                                Vienna, VA 22182
                                                703-834-5550 Office
                                                jeff@martinlawgroup.com
                                                Counsel to Sandy Spring Bank, a Division of
                                                Atlantic Union Bank
